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                            UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 22-20224-CV-WILLIAMS/SANCHEZ


  HUBERT ARTURO ACEVEDO,

         Plaintiff,

  vs.

  CITY OF MIAMI;
  JOE CAROLLO, individually;
  ALEX DIAZ DE LA PORTILLA, individually;
  ARTHUR NORIEGA, individually; and
  MANOLO REYES, individually,

        Defendants.
  ______________________________________/

                  ORDER OF RECUSAL AND ORDER OF REASSIGNMENT

         THE UNDERSIGNED MAGISTRATE JUDGE, to whom the above-styled case has been

  assigned, see ECF No. 60, hereby recuses himself based upon a review of the pending record and

  refers the matter to the Clerk of Court for reassignment pursuant to 28 U.S.C. § 455 and the Local

  Rules and Internal Operating Procedures of the Court.

         DONE AND ORDERED in chambers in Miami, Florida, this 24th day of February, 2023.


                                               ___________________________________
                                               EDUARDO I. SANCHEZ
                                               UNITED STATES MAGISTRATE JUDGE
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         In accordance with the Local Rules, Internal Operating Procedures, and applicable

  Administrative Orders for the Southern District of Florida, this cause will be reassigned by the
                                      Edwin G. Torres
  Clerk’s Office to the calendar of _______________________________.

         Copies of this order shall be served on all pending parties of record. All documents

  for filing in this case shall carry the following case number and designation: 22-20224-
                     Torres
  CV-WILLIAMS/____________.
                                 27th day of February, 2023, Miami, Florida.
         BY ORDER OF COURT this ______


                                              ANGELA E. NOBLE
                                              CLERK OF COURT

                                              /s/Valerie Kemp
                                         By: ___________________________
                                             Deputy Clerk


  cc:    The Honorable Kathleen M. Williams
         Counsel of Record




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